                        IN THE UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF PENNSYLVANIA


 EQUAL EMPLOYMENT OPPORTUNITY                               CIVIL ACTION
 COMMISSION,

        Plaintiff,                                          NO. 21-4294-KSM

        v.

 GEISINGER HEALTH, et al.,

        Defendants.


                                             ORDER

       AND NOW, this 17th day of October, 2022, upon consideration of Defendants’ Motion to

Dismiss (Doc. No. 25), Plaintiff the Equal Employment Opportunity Commission’s (“EEOC”)

response (Doc. No. 28), the reply and sur-reply (Doc. Nos. 30, 31), following oral argument, and

for the reasons set forth in the accompanying Memorandum, it is ORDERED that the motion

(Doc. No. 25) is GRANTED in part and DENIED in part.

             • Specifically, it is ORDERED that Geisinger Clinic, Geisinger Health Plan,

                Geisinger Medical Center, and Geisinger Holy Spirit Hospital are DISMISSED as

                Defendants. It is further ORDERED that Plaintiff’s disability discrimination and

                failure to accommodate claims under Title I of the ADA and retaliation claim under

                Title V of the ADA are DISMISSED for failure to state a claim. These dismissals

                are without prejudice and with leave to amend.

             • It is further ORDERED that the EEOC has not sufficiently identified a class of

                aggrieved persons.
        • It is further ORDERED that the 300-day rule applies to the EEOC and the EEOC

           has failed to plead a continuing violation.

        • The remainder of Defendants’ motion to dismiss is DENIED.

IT IS SO ORDERED.




                                                 /s/ Karen Spencer Marston
                                                 ______________________________
                                                 KAREN SPENCER MARSTON, J.
